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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               IN ADMIRALTY
                        CASE NO. 1:20-cv-20397-DLG



  GREAT LAKES INSURANCE SE,

        Plaintiff,

  vs.

  WAVE CRUISER LLC,

        Defendant.
                                     /

                               FINAL JUDGMENT


        THIS CAUSE is before the Court upon Plaintiff Great Lakes

  Insurance SE’s (“Great Lakes”) Motion for Summary Judgment (ECF

  No. 24) and Defendant Wave Cruiser, LLC’s (“Waver Cruiser”) Motion

  for Summary Judgment (ECF No. 22) (collectively “the Motions”).

        For the reasons given in the Court’s Order on Cross Motions

  for Summary Judgment (ECF No. 56), entered on November 2, 2020,

  the Court GRANTS Great Lakes’s Motion and DENIES Wave Cruiser’s

  Motion and enters a FINAL JUDGMENT, pursuant to Rule 58 of the

  Federal Rules of Civil Procedure, in favor of Great Lakes and

  against Wave Cruiser on the Third Cause of Action asserted by Great

  Lakes in the Complaint (ECF No. 1).
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        The Clerk is directed to CLOSE the case. To the extent not

  already disposed of, any pending motions are DENIED AS MOOT, any

  scheduled hearings are CANCELED, and all pending deadlines are

  TERMINATED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 5th day

  of November, 2020.




                                           s/Donald L. Graham

                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE

  cc: All Counsel of Record




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